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AV noe IN THE UNITED STATES DISTRICT COURT

Case 3:20-cr-00034-L Document 1 Filed 01/28/2@—Page tua Reee Cd

NORTI IERN DISTRICT OF TEXAS

FOR THE NORTHERN DISTRICT OF TEXASAN 2 8 2020

 

 

    

 

  
 

 

 

 

DALLAS DIVISION
: CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA NO. ae
eputy
Vv.
ANTONIO DARVIORUS GAGE (01) “20cR0034-L

MARVELLE DEJUAN WILSON (02)
LADARIUS CARNILUS JONES (03)

INDICTMENT
The Grand Jury charges:
Count One
Interference with Commerce by Robbery; Aiding and Abetting
(Violation of 18 U.S.C. §§ 1951(a) and 2)

On or about April 9, 2019, in the Dallas Division of the Northern District of
Texas, Antonio Darviorus Gage, Marvelle Dejuan Wilson, and LaDarius Carnilus
Jones, the defendants, aided and abetted by one another, did unlawfully obstruct, delay,
and affect, and attempt to obstruct, delay, and affect, commerce, as that term is defined in
18 U.S.C. § 1951, and the movement of articles and commodities in such commerce, by
robbery, as that term is defined in 18 U.S.C. § 1951, in that the defendants, aided and
abetted by one another, did unlawfully take and obtain personal property, consisting of
money and tobacco products, from the person and in the presence of B.M., an employee
of the 7-Eleven store located at 4301 Ross Avenue, Dallas, Texas, in his capacity as an
employee of the 7-Eleven store, and against his will by means of actual and threatened
force, violence, and fear of immediate injury to his person.

In violation of 18 U.S.C. §§ 1951(a) and 2.

Indictment—Page 1

 
Case 3:20-cr-00034-L Document1 Filed 01/28/20 Page2of5 PagelD 2

Count Two
Using, Carrying, and Brandishing a Firearm
During and in Relation to a Crime of Violence; Aiding and Abetting
(Violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and 2)

On or about April 9, 2019, in the Dallas Division of the Northern District of
Texas, Antonio Darviorus Gage, Marvelle Dejuan Wilson, and LaDarius Carnilus
Jones, the defendants, aided and abetted by one another, did knowingly use, carry, and
brandish a firearm, to-wit: a handgun, during and in relation to a crime of violence,
namely, interference with commerce by robbery, in violation of 18 U.S.C. § 1951(a), as
alleged in Count One of this indictment, for which the defendants may be prosecuted in a

court of the United States.

In violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and 2.

Indictment—Page 2

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Case 3:20-cr-00034-L Document1 Filed 01/28/20 Page3of5 PagelD 3

Forfeiture Notice
(18 U.S.C. §§ 924(d) and 981(a)(1)(C); 28 U.S.C. § 2461(c))

Upon conviction for either offense alleged in Count One of the Indictment and
pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), Antonio Darviorus
Gage, Marvelle Dejuan Wilson, and LaDarius Carnilus Jones, the defendants, shall
forfeit to the United States of America any property, real or personal, constituting or
derived from proceeds traceable to the offense.

Further, upon conviction for any of the offenses alleged in Counts One and Two of
the Indictment and pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(), Antonio
Darviorus Gage, Marvelle Dejuan Wilson, and LaDarius Carnilus Jones, the
defendants, shall forfeit to the United States of America all firearms and ammunition

involved or used in the commission of the respective offense.
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Indictment—Page 3
Case 3:20-cr-00034-L Document1 Filed 01/28/20 Page4of5 PagelD 4

 

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Indictment—Page 4
Case 3:20-cr-00034-L Document1 Filed 01/28/20 Page5of5 PagelID5

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA
v.

ANTONIO DARVIORUS GAGE (01)
MARVELLE DEJUAN WILSON (02)
LADARIUS CARNILUS JONES (03)

 

INDICTMENT

18 U.S.C. §§ 1951(a) and 2

Interference with Commerce by Robbery; Aiding and Abetting
(Count 1)

18 U.S.C. §§ 924(c)(1)(A)(G) and 2
Using, Carrying, and Brandishing a Firearm

During and in Relation to a Crime of Violence; Aiding and Abetting
(Count 2)

18 U.S.C. §§ 924(d) and 981(a)(1)(C); 28 U.S.C. § 2461(c)
Forfeiture Notice

2 Counts

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A true bill rendered

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Filed in open court this ay of January, 2020. f
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Warrant to be Issued for all Defendants

 

   

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